     Case 6:23-bk-13207-WJ   Doc 19 Filed 08/07/23 Entered 08/07/23 14:48:14           Desc
                              Main Document Page 1 of 4

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                                                              CLERK U.S. BANKRUPTCY COURT
 6                                                            Central District of California
                                                              BY gooch      DEPUTY CLERK
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 8                             UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                     RIVERSIDE DIVISION

11

12       In re:                                 Case No.: 6:23-bk-13207-WJ

13       NEAL JOSEPH MITZEL,                    CHAPTER 13

14                                  Debtor.
                                                           SCHEDULING ORDER
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     Case 6:23-bk-13207-WJ       Doc 19 Filed 08/07/23 Entered 08/07/23 14:48:14                 Desc
                                  Main Document Page 2 of 4

 1             Commencing in March of 2020, the outbreak of COVID-19, also known as the

 2      coronavirus, spread throughout the country and the world. The federal courts closed that month

 3      and, except for a brief period of time in the summer of 2020, remained closed until April of 2021.

 4      During this period of time, the courts adapted and, in various ways, employed remote technology.

 5             In particular, the court has used video technology to conduct chapter 13 confirmation

 6      hearings and status conferences. It appears this process has enhanced (considerably) the

 7      convenience of these matters for the parties and the court. Therefore, the court intends to continue

 8      conducting such matters by video for the foreseeable future.

 9             However, for several reasons, video hearings should occur separately from other matters

10      not handled by video. In other words, the court avoids conducting video hearings at the same time

11      as in-person hearings. Video hearings should occur on separate days and at separate times.

12

13             Therefore, the Court hereby ORDERS as follows:

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15             1.      The status conference set for August 23, 2023 at 2:30 p.m. is hereby continued to

16      December 18, 2023 at 10:30 a.m. The confirmation hearing currently scheduled for September 6,

17      2023 at 2:00 p.m. is hereby continued to December 18, 2023 at 10:30 a.m. Counsel for the debtor

18      shall file and serve a notice of the continuance no later than July 31, 2023.

19
20             2.      The meeting of creditors is currently scheduled for August 23, 2023. No later than

21      fourteen days prior to this meeting of creditors (and all future meetings of creditors), the debtor

22      shall comply with LBR 3015-1(m) and file and serve the secured debt payment history declaration

23      required in this case. This topic is discussed in section III(L) on pages 32-35 of the procedures

24      order in this case which counsel for the debtor should review.

25

26             3.      If, after conducting the meeting of creditors, the trustee seeks dismissal of the case,

27      the trustee should file and serve a request to dismiss the case by August 25, 2023 either in the form
28      of (a) an objection to confirmation and a request to dismiss the case or (b) a motion to dismiss the




                                                         -2-
     Case 6:23-bk-13207-WJ            Doc 19 Filed 08/07/23 Entered 08/07/23 14:48:14                           Desc
                                       Main Document Page 3 of 4

 1      case. If the trustee does so, the deadline for the debtor to respond to any request by the trustee to

 2      dismiss the case filed by August 25, 2023 (whether as an objection to confirmation and a request to

 3      dismiss the case or a motion to dismiss the case) is September 1, 2023. Thereafter, the Court will

 4      review the pleadings and, in most instances, rule on the motion.

 5

 6               4.       If the case is not dismissed after the meeting of creditors, then the following

 7      procedures apply:

 8                        (a)      The trustee or any other party may file a motion to dismiss at any time or

 9               any other motions and the deadline for the debtor to respond to such motions shall be

10               governed by the local rules.

11                        (b)      If the debtor owns the current residence where the debtor lives, the debtor

12               should file (no later than November 27, 2023) a secured debt payment history declaration

13               demonstrating that the debtor has made all monthly post-petition mortgage payments from

14               the petition date through November 2023. If the debtor owns the residence but it is not

15               subject to any mortgage, the declaration can be very short (i.e. a sentence or two) that

16               simply states as much. If the debtor resides at property the debtor does not own, the debtor

17               should file (no later than November 27, 2023) a declaration demonstrating that the debtor

18               has made all monthly post-petition rent payments (with proof attached).1

19                        (c)      If the trustee supports confirmation then, after the debtor files the required
20               pleading, the chapter 13 trustee should file, no later than December 4, 2023, a pleading

21               stating as much and attach a worksheet with the proposed terms of confirmation. If the

22               chapter 13 trustee does not support confirmation then, no later than December 4, 2023, the

23               trustee should file a motion requesting dismissal which states all grounds for dismissal and

24               includes a declaration in support of the motion. If the debtor has not made all post-petition

25               mortgage or rent payments for all post-petition months, the trustee normally requests

26               dismissal of the case. If, for any reason, the trustee does not do so, the proposed terms of

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                   With respect to rent payments, in nearly all instances, post-petition obligations of assumed executory
28      contracts or unexpired leases constitute administrative claims which must be paid in full pursuant to section 1322(a)(2).




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     Case 6:23-bk-13207-WJ        Doc 19 Filed 08/07/23 Entered 08/07/23 14:48:14                Desc
                                   Main Document Page 4 of 4

 1              confirmation must (a) include provisions to cure all post-petition arrearages (as well as any

 2              pre-petition arrearage) and (b) provide for conduit payments for the monthly payments for

 3              the rest of the case.

 4                      (d)     The deadline for the debtor to respond to the trustee’s pleading is

 5              December 11, 2023. If the trustee seeks dismissal, the debtor should file an opposition brief

 6              to the dismissal motion no later than December 11, 2023. If the trustee recommends

 7              confirmation, the debtor should state whether the debtor agrees with the terms of

 8              confirmation proposed by the trustee.

 9                      (e)     The Court will review the pleadings and may issue a ruling without holding

10              hearings on December 18, 2023 that (i) continues the matter, (ii) dismisses the case or

11              (iii) grants other relief depending on various factors including, but not limited to, whether

12              or not an agreement exists regarding confirmation, and whether or not the debtor has timely

13              made payments and provided documents to the trustee during the case. If no order is

14              entered prior to December 18, 2023, all parties should check the Court’s posted calendar the

15              day before December 18, 2023.

16      IT IS SO ORDERED.

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         Date: August 7, 2023
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